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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In Re:          Oil Spill by the Oil Rig  :           MDL NO. 2179
                “Deepwater Horizon” in the:
                Gulf of Mexico, on        :           SECTION: J
                April 20, 2010            :
                                          :           JUDGE BARBIER
This Document Relates to:                 :
Case No. 2:10-cv-04536                    :           MAG. JUDGE SHUSHAN
..............................................................................



                                           ORDER


         CONSIDERING THE EX PARTE MOTION of the United States of America for Leave

to Exceed Page Limit for its Memorandum in Support of United States’ Second Motion for

Partial Summary Judgment as to the Liability of BP Exploration & Production, Inc., the

Transocean Defendants, and the Anadarko Defendants,


         IT IS HEREBY ORDERED that the motion be and is hereby granted and the Clerk of the

Court is ordered to file the memorandum attached to the United States’ motion into the record in

the captioned case.


         New Orleans, Louisiana, this ___ day of December 2011.




                                                    ______________________________
                                                    THE HONORABLE CARL J. BARBIER
                                                    UNITED STATES DISTRICT JUDGE
